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                IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF GEORGIA
                         COLUMBUS DIVISION

BUSHRA GORDON,                                       )
                                                     )
                          Plaintiff,                 )
                                                     )
v.                                                   )       CIVIL ACTION NO.:
                                                     )       4:20-cv-0084-CDL
BRIAN ROWLEY, Individually and as Vice               )
President of South East Region Sales, and            )
U.S. Bank National Association,                      )
                                                     )
                          Defendants.                )
                                                     )

                                       ORDER

      This matter is before the Court on Plaintiff’s Motion for Consent to Share

Juror Questionnaires with Jury-Research Contractor.

      IT IS HEREBY ORDERED that the Motion is GRANTED. Plaintiff may

share the juror questionnaires with Plaintiff’s jury-research consultant under the

conditions proposed by Plaintiff in their Motion.

      SO ORDERED, this 9th day of March, 2023


                                                    S/Clay D. Land
                                             Hon. Clay D. Land
                                             U.S. District Judge
